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EILEEN M. DECKER
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18
FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
. WESTERN DIVISION
20
UNITED STATES OF AMERICA ex rel. | No. CV 13-5861 GHK (AJ Wx)
21 || [UNDER SEAL], .
. MEMORANDUM OF POINTS AND
22 | Plaintiffs], — AUTHORITIES IN SUPPORT OF
| STIPULATION REQUESTING
23 V. EXTENSION OF SEAL AND ELECTION
a PERIOD; DECLARATION OF JOHN E.

24 || [UNDER SEAL], LEE IN SUPPORT THEREOF
25 Defendant[s]. [RILED UNDER SEAL PURSUANT TO
. HE FALSE CLAIMS ACT, 31 U.S.C.
26 §§ 3730(b)(2) AND (3)]
27 FILED/LODGED CONCURRENTLY: _

} ) STIPULATION; (2) DECLARATION;
28

 

 

 

 

[PROPOSED!1 ORDER

 

 
 

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION |

UNITED STATES OF AMERICA; the
STATES of CALIFORNIA,
DELAWARE, FLORIDA, GEORGIA,
HAWAII, ILLINOIS, INDIANA,
LOUISIANA, MICHIGAN .
MINNESOTA, MONTANA, NEVADA,
NEW HAMPSHIRE, NEW JERSEY,
NEW MEXICO, NEW YORK, NORTH
CAROLINA, OKLAHOMA, RHODE
ISLAND, TENNESSEE, TEXAS, and
WASHINGTON; COMONWEALTHS of
MASSACHUSETTS and VIRGINIA, and
the DISTRICT OF COLUMBIA ex rel.
MARIA GUZMAN,

 

 

 

 

No. CV 13-5861 GHK (AJWx)

MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF
STIPULATION REQUESTING
EXTENSION OF SEAL AND UNITED
STATES’ ELECTION PERIOD;
DECLARATION OF JOHN E. LEE IN
SUPPORT THEREOF

FILED UNDER SEAL PURSUANT
O THE FALSE CLAIMS ACT, 31
U.S.C. §§ 3730(b)(2) AND (3)]

[F ILED/LODGED CONCURRENTLY:
1) STIPULATION REQUESTING

 

 
 

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Se 2:13-cv-05861-JLS-AJW Document 28 Filed 04/01/16’ Page 30f11 Page ID #340

Plaintiff, EXTENSION OF SEAL AND
ELECTION PERIOD; DECLARATION
V. OF JOHN E. LEE IN SUPPORT
THEREOF; (2) DECLARATION OF
INSYS THERAPEUTICS, INC.; ERIKA HIRAMATSU; &) [PROPOSED]
MICHAEL BABICH, an individual; ORDER EXTENDING SEAL AND

ALEC BURLAKOFF, an individual: and | ELECTION PERIOD]
DOES 1 through 15,

Defendants.

 

 

 

I. INTRODUCTION

This action is brought under the qui tam provisions of the False Claims Act
(“FCA”), 31 U.S.C. §§ 3729-3733. The qui tam plaintiff (“the Relator”) is Maria
Guzman. The defendants are INSYS Therapeutics, Inc. (““INSYS”), a publicly-traded
national pharmaceutical company and its former executives Michael Babich and Alex
Burlakoff. Pursuant to the FCA, 31 U.S.C. § 3730(b)(3) and respective State statutes,
and the Stipulation filed concurrently herewith, the United States of America (“United
States”) respectfully requests that the Court grant it and all of the governmental entities
named as plaintiffs (the “State governmental entities”)’ an additional six months, to and
including October 10, 2016, within which to elect whether to intervene in the above-
captioned action (“this action”). The United States also requests that the Complaint,
First Amended Complaint, and all other documents filed or lodged in this action remain
under seal for the same period, pursuant to 31 U.S.C. §§ 3730(b)(2) and (3).
Il. PROCEDURAL SUMMARY AND RELATOR’S ALLEGATIONS

The Relator filed the Complaint in this action on August 12, 2013, under seal as
required by the FCA. On November 16, 2015, the Relator filed a First Amended

 

' The State governmental entities are the States of California, Delaware, Florida,
Georgia, Hawaii, Illinois, Indiana, Louisiana, Michigan, Minnesota, Montana, Nevada,
New Hampshire, New Jersey, New Mexico, New York, North Carolina, Oklahoma,
Rhode Island, Tennessee, Texas, and Washington; the Commonwealths of
Massachusetts and Virginia, and the District of Columbia. The State governmental
entities are members of an organization called the National Association of Medicaid
Fraud Control Units (NAMFCU), whose Intake Team liaisons are California Deputy
Attorney General Erika Hiramatsu and Indiana Deputy Attorney General Lawrence J.
Carcare, II. See Declaration of Erika Hiramatsu.

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Complaint, adding twenty-five governmental entities as plaintiffs and allegations
regarding two individuals, Babich and Burlakoff, also added as defendants.

INSYS is alleged to bea specialty pharmaceutical company headquartered in
Chandler, Arizona. INSYS allegedly markets Subsys, a powerful fentanyl sublingual
spray approved by the Food and Drug Administration (“FDA”) to treat breakthrough
cancer pain in opioid tolerant patients. INSYS allegedly also markets Dronabinol SG
Capsule and is awaiting FDA approval for Dronabinol Oral Solution. Babich was
INSYS’s Chief Executive Officer and Buralkoff was its Vice-President of Sales.

The Relator alleges that the defendants instituted a kickback-fueled off-label
marketing campaign to induce doctors to prescribe SUBSYS far beyond its stated
indication and its beginning dosage of 100 micrograms. The Relator alleges that the
defendants improperly encouraged doctors to quickly titrate patients to higher than
appropriate Subsys dosage levels. The Relator also alleges that the defendants used a
mail order pharmacy to send Subsys to patients who had not requested the drug and that
the pharmacy did not properly instruct patients on the proper storage of Subsys.

The Relator further alleges that the defendants instituted programs throughout the
country in order improperly to induce doctors to prescribe Subsys, providing them with
speaker’s fees and other monetary payments, trips to strip clubs and shooting ranges,
stock options, jobs for their significant others, expensive meals, and other benefits, in
violation of federal anti-kickback laws.

The Relator alleges that, by their conduct, the defendants violated, among other
provisions, 31 U.S.C. §§ 3729(a)(1), 42 U.S.C. § 1320a-7b, 21 U.S.C. §§ 331(a) and
360aaa, as well as similar provisions of the State governmental entities. |
Ill. THERE IS GOOD CAUSE TO EXTEND THE INTERVENTION

DEADLINE AND SEAL PERIOD |

The qui tam provisions of the FCA provide in pertinent part that:

(2)... The complaint shall be filed in camera, shall remain under seal

for at least 60 days, and shall not be served on the defendant until the court
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so orders. The Government may elect to intervene and proceed with the

action within 60 days after it receives both the complaint and the material

evidence and information.

(3) The Government may, for good cause shown, move the court for

extensions of the time during which the complaint remains under seal under

paragraph (2).

31 U.S.C. §§ 3730(b)(2) and (3) (emphasis added).

The Fourth Circuit has noted that the initial 60-day seal period is designed to
enable the government to “investigate the private gui tam relator’s allegations and
determine whether they present adequate grounds for the government to proceed with the
case, and, if adequate grounds exist, to determine whether it is in the government’s
interest to prosecute the case.” United States ex rel. Siller v. Becton Dickinson & Co.,
21 F.3d 1339, 1343 n.3 (4th Cir. 1994). The court also noted that, “Tals Congress
recognized, these tasks could very well take more than 60 days.” Id. As set forth in the
accompanying declaration, good cause exists to extend the intervention election period.
See attached In Camera Declaration of John E. Lee (“Lee Decl.”), 3.

The United States also requests that the Complaint and all other documents filed

‘or lodged in this action remain under seal pursuant to 31 U.S.C. §§ 3730(b)(2) and (3), to

allow the United States an adequate opportunity to evaluate fully the private enforcement
suit and to determine whether it is in the United States’ interest to intervene in the
relator’s qui tam action. As recognized in United States ex rel. Lujan v. Hughes Aircraft
Co., 67 F.3d 242, 245 (9th Cir. 1995) (citation omitted), the government should be
allowed “an adequate opportunity to fully evaluate the private enforcement suit and
determine both if that suit involves matters the Government is already investigating and
whether it is in the Government’s interest to intervene and take over the civil action.”
Maintaining the seal is important because it allows “the qui tam relator to start the
judicial wheels in motion and protect his litigative rights, while allowing the government

the opportunity to study and evaluate the relator’s information for possible intervention
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in the qui tam action or in relation to an overlapping criminal investigation.” Id. As set
forth in the Lee Decl., § 4, maintaining the seal is important in the present case.
IV. CONCLUSION

For the foregoing reasons, the United States respectfully requests that the Court
approve the Stipulation filed herewith and grant the United States and the State
governmental entities a six-month extension of time, to and including October 10, 2016,
to determine whether to intervene in this action, during which time the Complaint, First
Amended Complaint, and all other documents filed or lodged in this action would

remain under seal. The Relator has joined in requesting the proposed extension.
Dated: April. /,2016 | Respectfully submitted,

BENJAMIN C. MIZER

Principal Deput ity ss Assistant Attorney General
EILEEN M

United States Attorney

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Chief, Civil Division

DAVID K. BARRETT

Chief, Civil Fraud Section

SUSAN HERSHMAN

Deputy Chief, Civil Fraud Section

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United States Department of Justice

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JOHN E. LEE
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iAttornevs for the United States of America

 

 
 

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DECLARATION OF JOHN E. LEE

I, John E. Lee, declare:

1, I am the Assistant United States Attorney who, along with Department of
Justice Trial Attorney David T. Cohen, has been assigned responsibility for representing -
the United States of America in this action. This declaration is offered in support of the
United States’ request for a six-month extension of the seal and election period, to and
including October 10, 2016, on behalf of the United States and the State governmental
entities. The Relator has joined in requesting the proposed extension.

2. Since reporting to the Court for the last extension request, which was
granted on October 6, 2015, the United States has, among other things, undertaken the
following investigative and related activities in this action:

a. During September and November 2015 and February and March
2016, we received INSYS Therapeutics Inc.’s (““INSYS”) Twenty-Ninth through Thirty-
Second productions of documents in response to an Inspector General subpoena that we
served on INSYS. The productions received during this period consist of approximately
10,704 documents comprised of approximately 26,796 pages.

b. During October and November 2015 and January, February, and
March 2016, we received INSYS’s productions One through Twelve pursuant to
subpoenas issued by the United States Attorney’s Office in Boston. These productions
consist of approximately 69,197 documents comprised of approximately 986,206 pages.

C. During October and December 2015, we received further productions
of documents from third parties and the Relator in this action.

d. In December 2015, a meeting was held at the United States
Attorney’s Office in Boston, which is conducting a criminal investigation related to this
action. In attendance were INSYS’s counsel, Skadden, Arps, Slate, Meagher & Flom,
LLP, including John Bentivoglio and Jennifer Bragg of its District of Columbia office
and Michael K. Loucks and May P. Florence of its Boston office, as well as a number of

INSYS employees, to discuss various issues relating to this action.
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e. In March 2016, a further meeting was held with INSYS counsel at the
United States Attorney’s Office in Boston.
f. In March 2016, the United States District Court for the Eastern
District of Pennsylvania filed an order transferring to this district U.S. ex rel. Erickson v.
Insys Therapeutics, Inc., CV 15-1424 (E.D. Pa.), a qui tam action involving INSYS.
3. The United States needs additional time to conduct its investigation. In
particular, additional time is needed to undertake the following investigative tasks:

a. At this time, we continue to consult with criminal prosecutors in the

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United States Attorney’s Office in Boston, who are conducting a criminal investigation
10 || related to this action. We also continue to receive documents obtained by the United

11 || States Attorney’s Office in Boston pursuant to its investigation. .

12 b. We also continue to review and analyze voluminous documents in

13 || this action, including documents obtained from INSYS, various third parties, and the

14 || Relator. To date, the investigative team has received more than 6 million pages of

15 | documents in this action and we continue to receive additional records. During the

16 || upcoming months, we anticipate continuing to review relevant documents and, if

17 || necessary, seeking and obtaining additional documents.

18 C. In March 2016, we discussed this action with National Association of
19 || Medicaid Fraud Coordinators (“NAMFCU”) Intake Team Liaisons Lawrence J. Carcare
20 | II and Erika Hiramatsu. Mr. Carcare and Ms. Hiramatsu are in the process of obtaining
21 from NAMFCU members various data, which we will need to review. \
22 d. We also need to continue to interview numerous additional witnesses
23 || in this action, many of whom reside in various other states across the country. We

24 || anticipate continuing to interview some of these witnesses before we have received and
25 || reviewed all of the documents that we have requested pursuant to the Inspector General
26 || subpoenas. However, for the majority of witnesses, we anticipate that the interviews

27 || will need to be conducted after we have reviewed the bulk of the documents that we

28 || have requested in this action.

 

 

 
 

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e. We also continue to coordinate efforts with other governmental
offices in addition to the United States Attorney’s Office for the District of
Massachusetts, including the United States Attorney’s Offices in the Middle District of
Florida and the Eastern District of Pennsylvania.

d. We also anticipate conducting additional meetings as appropriate
with INSYS counsel regarding issues that we began discussing with them in April 2015
and are continuing to discuss with them.

4. I believe that six months is the minimum time required to complete these
tasks. During this period, maintaining the seal over this action is important to avoid
improper dissemination of confidential information. If more than six months are
ultimately required, the United States will report to the Court toward the end of the
requested extension period regarding the status of the investigation.

5. For the foregoing reasons, the United States respectfully requests that the
Court grant the United States and the State governmental entities a six-month extension
of their deadline regarding intervention, and the same extension of the seal period, to and
including October 10, 2016.

6. The foregoing is based both on my personal knowledge and on information
I obtained from case agents of the Department of Health and Human Services, Office of
Inspector General, and Department of Defense, Defense Criminal Investigative Service,
as well as other government officials and sources.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on April f , 2016, at Los Angeles, California.

C Cirkbe—

JOHN E. LEE

 

 

 

 
 

 

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1 DECLARATION RE LACK OF NECESSITY FOR PROOF OF SERVICE
2 I, John E. Lee, declare:
3 1. Iam the Assistant United States Attorney who has been assigned
4 || responsibility for handling the above-captioned action. I am a member of the Bar of the
5 || State of California, and I have been duly admitted to appear before this Court. The
6 || following is based on my personal knowledge. |
7 WK 2. I have examined Federal Rule of Civil Procedure (“Rule”) 5(a), which
8 || provides as follows: |
9 | (a) Service: When Required.
10 (1) In General. Unless these rules provide otherwise, each of the following
11 papers must be served on every party:
12 (A) an order stating that service is required;
13 (B) a pleading filed after the original complaint, unless the court
14 orders otherwise under Rule 5(c) because there are numerous
15 defendants;
16 (C) a discovery paper required to be served on a party, unless the
17 court orders otherwise;
18 (D) a written motion, except one that may be heard ex parte; and
19 (E) a written notice, appearance, demand, or offer of judgment, or
20 any similar paper. |
21 - (2) Ifa Party Fails to Appear. No service is required on a party who is in
22 default for failing to appear. But a pleading that asserts a new claim for
23 relief against such a party must be served on that party under Rule 4.
24 (3) Seizing Property. If an action is begun by seizing property and no
25 person is or need be named as a defendant, any service required before the
26 filing of an appearance, answer, or claim must be made on the person who
27 had custody or possession of the property when it was seized.
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3. The list of documents set forth in Rule 5(a)(1) does not include the
documents to which this Declaration is attached. The said documents also are not a
pleading that asserts “a new claim for relief’ against any “party who is in default for
failing to appear.” (Rule 5(a)(2).) Nor was the above-captioned action “begun by
seizing property.” (Rule 5(a)(3).) Therefore, I believe that Rule 5(a) does not require
the documents to which this Declaration is attached to be served upon any party that has
appeared in the above-captioned action.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on April _/_, 2016, at Los Angeles, California.

JOHN E. LEE

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